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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 20-CIV-81205-RAR

  SECURITIES AND EXCHANGE
  COMMISSION,

         Plaintiff,

  v.

  COMPLETE BUSINESS SOLUTIONS
  GROUP, INC. d/b/a PAR FUNDING, et al.,

        Defendants.
  _______________________________/

            ORDER GRANTING THE RECEIVER’S SIXTH MOTION TO LIFT
       LITIGATION INJUNCTION AS TO CERTAIN GARNISHMENT PROCEEDINGS

         THIS CAUSE comes before the Court upon the Receiver’s Sixth Motion to Lift Litigation

  Injunction as to Certain Garnishment Proceedings [ECF No. 318] (“Motion”), filed on October 14,

  2020. In the Motion, the Receiver seeks to modify the Court’s Amended Order Appointing

  Receiver dated August 13, 2020 [ECF No. 141], so as to lift the litigation injunction provided for

  in that Order for certain garnishment matters currently pending in the Court of Common Pleas of

  Philadelphia County, Pennsylvania to be opened for the limited purpose of allowing the Receiver,

  in his discretion, to dissolve current writs of garnishment, to mark judgments satisfied, and/or to

  reopen confessed judgments, where the counterparty merchant either has resolved or has agreed

  to resolve prior defaults in certain cases in the Court of Common Pleas of Philadelphia County,

  Pennsylvania.

         The Receiver has made a sufficient and proper showing in support of the relief requested.

  Accordingly, it is hereby
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         ORDERED AND ADJUDGED that Receiver’s Sixth Motion to Lift Litigation Injunction

  as to Certain Garnishment Proceedings [ECF No. 318] is GRANTED. The litigation injunction

  set forth in the Court’s Amended Order Appointing Receiver dated August 13, 2020 [ECF No.

  141] is hereby lifted in the following matters in the Court of Common Pleas of Philadelphia

  County, Pennsylvania, and solely for the purposes described in the Motion:

         1. Complete Business Solutions Group, Inc. v. Salt Logistics LLC and Susana
            Mireles Varela, Docket No. 200203401.

         2. Complete Business Solutions Group, Inc. v. D and N Security Management
            Group D&N Security Management Group, Priority Security Services CCTV
            LLC and Chris Hair, Docket No. 190902746.

         3. Complete Business Solutions Group, Inc. v. Larrymey Lane Hawkins Sole
            Proprietor d/b/a Hawkins Systems Solutions and Larrymey Lane Hawkins,
            Docket No. 200201605.

         4. Complete Business Solutions Group, Inc v. R and S Great Adventures LLC and
            Reginald Thompson, Docket No. 200202292.

         5. Complete Business Solutions Group, Inc v Tennessee Everything Inc., Michael
            Crone and Jessica Crone, Docket No. 200202580.

         6. Complete Business Solutions Group, Inc. v. MSD Group Inc. and Michael
            Doherty, Docket No. 200102994.

         7. Complete Business Solutions Group, Inc. v. Swift Recycling LLC and Alejandro
            Hernandez, Docket No. 200400266.

         8. Complete Business Solutions Group, Inc. v. Markus Corp. and Marek
            Kusmierczyk, Docket No. 200400147.

         9. Complete Business Solutions Group, Inc. v. CK Professional Services LLC and
            Christopher Galford, Docket No. 200200731.

         10. Complete Business Solutions Group, Inc. v. Christopher Ernie Perez, Jr. Sole
             Proprietor d/b/a Forza Group and Christopher Ernie Perez, Docket No.
             200300729.

         11. Complete Business Solutions Group, Inc. v. Robotic Assistance Devices Inc. and
             Steven Reinharz, Docket No. 200200083.

         12. Complete Business Solutions Group, Inc. v. New Image Construction of New
             Jersey Inc, Salam Ghaida, and Michael Ghaida, Docket No. 200102511.

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         The litigation injunction is also lifted with respect to Five Five Five LLC, et al. v. Complete

  Business Solutions Group, Inc., State of Colorado, District Court, El Paso County, Case No.

  2020CV30857, Division 2.

         DONE AND ORDERED in Fort Lauderdale, Florida, this 15th day of October, 2020.



                                                        _________________________________
                                                        RODOLFO A. RUIZ II
                                                        UNITED STATES DISTRICT JUDGE
  Copies to:    Counsel of record




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